Case 2:03-CV-02989-BBD-STA Document 46 Filed 07/06/05 Page 1 of 2 Page'|D 53

IN THE UNITED STATES DISTRICT COURT QSJUL "'6 43 92
FOR THE WESTERN DISTRICT OF TENNESSEE 67

 

WESTERN DIVISION metz W…
W/Do¢ aj w , mm
., h,JMS

THE CHARTER OAK FIRE
INSURANCE COMPANY,

Plaintiff, Case No.: 03-2989 D
V.
BROAN NUTONE, LLC.,

Defendant.

 

ORDER GRANT]NG MOTION FOR RESETTING

 

It appearing to the Court that Plaintiff’s motion for resetting is well-taken, it is therefore
ORDERED, ADUDGED AND DECREED that the trial schedule is amended as follows:
Trial: Monday, October 17, 2005, at 9:00 a.m.

Pretrial Conference: Monday, October 3, 2005, at 8:45 a.m.

Pretrial Order Due by 5:00 p.rn. September 6, 2005
IT Is 50 0RDERED this Lj"“` day 0 ,2005.

   

This document entered on the docket sheet |n cSnjp|iance

with Ru|e 58 and/or 79(a) FRCP on 2 “L/’§

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02989 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

Charles G. Walker
WALKER LAW OFFICE
6750 Poplar

Ste. 412

Memphis7 TN 38138

Brian P. Henry
TEDFORD & HENRY
750 Main St.

Ste. 5 10

Hartford, CT 06103

EdWard M. Bearman
BRANSON & BEARMAN
780 Ridge Lake Blvd.

Ste. 202

Memphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

